Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 1 of 36 Page ID #:6




                            EXHIBIT A
Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 2 of 36 Page ID #:7

                                                                             Service of Process
                                                                             Transmittal
                                                                             04/03/2019
                                                                             CT Log Number 535226845
   TO:     Maria Bustamante, Paralegal-Litigation
           United Airlines, Inc.
           609 Main Street, 18th Floor
           Houston, TX 77002

   RE:     Process Served in California

   FOR:    United Airlines, Inc. (Domestic State: DE)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF ACTION:                  Allyson Chagas, Pltf. vs. United Airlines, Inc., et al., Dfts.
   DOCUMENT(S) SERVED:               Summons, Complaint, Cover Sheet, Notice(s), Instructions, Attachment(s)
   COURT/AGENCY:                     Los Angeles County - Superior Court, CA
                                     Case # 19STCV10797
   NATURE OF ACTION:                 Employee Litigation - Wrongful Termination - 05/31/2018
   ON WHOM PROCESS WAS SERVED:       C T Corporation System, Los Angeles, CA
   DATE AND HOUR OF SERVICE:         By Process Server on 04/03/2019 at 16:23
   JURISDICTION SERVED :             California
   APPEARANCE OR ANSWER DUE:         Within 30 days after service
   ATTORNEY(S) / SENDER(S):          Martin I. Aarons
                                     The Aarons Law Firm
                                     16000 Ventura Boulevard, Suite 850
                                     Encino, CA 91436
                                     818-794-9250
   ACTION ITEMS:                     CT has retained the current log, Retain Date: 04/04/2019, Expected Purge Date:
                                     04/09/2019

                                     Image SOP

                                     Email Notification, Tom Campuzano thomas.d.campuzano@united.com

                                     Email Notification, Maria Bustamante maria.bustamante@united.com

                                     Email Notification, Paula Hernandez paula.hernandez01@united.com

                                     Email Notification, JAVARIA NEAGLE javaria.neagle@united.com

   SIGNED:                           C T Corporation System
   ADDRESS:                          818 West Seventh Street
                                     Los Angeles, CA 90017
   TELEPHONE:                        213-337-4615




                                                                             Page 1 of 1 / AP
                                                                             Information displayed on this transmittal is for CT
                                                                             Corporation's record keeping purposes only and is provided to
                                                                             the recipient for quick reference. This information does not
                                                                             constitute a legal opinion as to the nature of action, the
                                                                             amount of damages, the answer date, or any information
                                                                             contained in the documents themselves. Recipient is
                                                                             responsible for interpreting said documents and for taking
                                                                             appropriate action. Signatures on certified mail receipts
                                                                             confirm receipt of package only, not contents.
Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 3 of 36 Page ID #:8
                                                                Wolters Kluwer



Please note that the documents attached
are of poor quality and the enclosed scan is
of the best quality attainable. If you require
improved quality documents, please
contact the serving party.
                                                                                             !

                Case 2:19-cv-03860-JAK-JC Document
                                               I
                                                                                   y.GOr'
                                                   1-1 Filed 05/03/19 Page 4 of 36 Page ID #:9
Electronically FILED by Superior Court of California. County of Los Angeles on ®3/28/201^^^l|:^^l^^1^rri R. Carter. Executive Officer/Clerit of Court, by D. Williams,Deputy Clerk


                                                                                                                                                                        SUM-100
                                                     SUMMONS                                                                                FOR COURT use ONLY
                                                                                                                                        (SOLO PARA USO DB LA CORTE)
                                                 (CITACION JUDICIAL)
             NOTICE TO DEFENDANT:
             (AVISO AL DEMANDADO):
              United Airlines, Inc. and DOES 1 through 10, inclusive

             YOU ARE BEING SUED BY PLAINTIFF:
             (LO ESTA DEMANDANDO el DEMANDANTE):

              Allyson Chagas

               NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the Information
               below.
                  You have 30 CALENDAR DAYS after this summons and iegai papers are served on you to file a wrilten response at this court and have a copy
               served on the plaintiff. A letter or phone call will not protect you. Your wiltten response must be in proper legal form if you want the court to hear your
               case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
               Online Self-Help Center {www.courtlnfo.ca.gov/selfhelp). your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
               the court clerk for a fee waiver form. If you do not file your response on lime, you may lose the case by default, and your wages, money, and property
               may be taken v^thout further warning from the court.
                   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
               referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
               these nonprofit groups at the California Legal Services Web site {www.lawhelpcalrfomla.org), the California Courts Online Self-Help Center
               {www.cour1infi3.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory Hen for waived fees and
               costs on any settlement or arbitration award of $10,000 or more in a dvtl case. The court's Hen must be paid before the court will dismiss the case.
              lAVISOl Lo han demandado. Si no responde dentro de 30 dies, la cotie puede deddir en su contra sin escuchar su versHn. Lea la informacidn a
              continuacldn.
                  Tlene 30 OlAS DE CALENDARIO despu6s de que le entreguen esta dtacldn y papeles legates para presenlar una respuesla par escrito en esia
              corte y hacer que se enlregue una copla al demandante. Una carta o una llamada telefdnica no lo prolegen. Su respuesla por escrito tiene que estar
              en formato legal conecto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda user para su respuesla.
              Puede encontrar estos formularies de la corte y mis Informacidn en el Centro de Ayuda dales Cories de California (www.sucorte.ca.gov), enia
              biblloteca de leyes de su condado o en la corte que le quede mis cerca. SI no puede pagar la cuota de presentaddn. pida al secretario de la corte
              que le dd un formulario de exenddn de pago de cuofas. SI no presenta su respuesta a llempo, puede perder el caso por Incumpllmienfo y la corte le
              podri quitar su sueldo, dinero y blenes sin mis advertencia.
                 Hay otros requisitos legates. Es recomendabte que llame a un abogado inmediatamente. SI no conoce a un abogado, puede llamar a un servido de
              remisidn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para oblener sen/icios legales gratuitos de un
              programa de servldos legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el slllo web de California Legal Services,
              (Www.lawhelpcalifomia.org), en el Centro de Ayuda de las Cortes da California. (Www.sucorte.ca.gov) oponlindose en contacto con la code o el
              colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a redamarlas cuofas y ids costos exenlos porimponerun gravamen sobre
              cualquier recuperaddn de $10,000 6 mis de valor reciblda mediante un acuerdoo una concesidn de aitllraje en un caso de derecho civil. Tiene que
              pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
             The name and address of the court is:                                                                          CASE NUMBER:
                                                                                                                            (NOmem Oei Coso):
             (El nombre y direccidr} de la corte es): Los Angeles County Superior Court
                                                                                                                                 1 9STCV1 0797
              Stanley Mosk Courthouse, 111 N. Hill Street, Los Angeles, CA 90012

             The name, address, and telephone number of plaintiff’s attorney, or plaintiff without an attorney, is:
             (El r}ombre. la direccidn y el nOmero de telifono del abogado del demandante, o del demandante que no tiene abogado, es):
              Martin Aarons; The Aarons Law Firm, 16000 Ventura Blvd Suite 850 Encino, CA 91436; 818-794-9250
                                                                                Sherri R. Carter Executive Officer / Clerk of Court
             DATE:                                                                       Clerk, by                                                                        Deputy
             (Fecha) 03/28/2019                                                          (Secretario) DaNang Williams                                                    (Adjunto)
             (For proof of sen/ice of this summons, use Proof of Service of Summons (form POS-OI0).)
             (Para prueba de entrega de esta cilatidn use el formulario Proof of Service of Summons, (POS-010)).
                                               NOTICE TO THE PERSON SERVED: You are served
              (SEAL]
                                               1. I  I as an individual defendant
                                               2. I  I as the person sued under the fictitious name of (specify):




              if          Zf,
                                m                   3,

                                                         under
                                                                on behalf of fspec/fy); Unit©d AiflinSS, IflC.

                                                                         CCP 416.10 (corporation)                I-----1 CCP 416.60 (minor)
                                                                  I    I CCP 416.20 (defunct corporation)        I     I CCP 416.70 (conservatee)
              VO                                                  I    I CCP 416.40 (association or partnership) |      | CCP 416.90 (authorized person)
                                                       ___    I    I other (specify):
                                                    4. I   I by personal delivery on (dale):
                                                                                                                                                                           Pago 1 of 1
              Fotm Adopted (or Mandatory Uso                                            SUMMONS                                                   Code of Ovil Procedure §§ 412.20,465
                Judidal CouncO of CclHorda                                                                                                                         mw/.eovfanfo.ea.gov
               SUM-100 (Rev. July 1, 2009)
                                                                                                                                                             Amortcari LegelNet, trw.
                                                                                                                                                             www.FofmsMtJrfdJoiv.cotn
                  Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 5 of 36 Page ID #:10
Electronically FILED by Superior Court of California, County of Los Angeles on 03/28/2019 11:10 AM Sherri R. Carter. Executive Officer/Clerli of Court, by D. Williams,Deputy Clerk

                                           Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer; John Doyle




              1
                    Martin I. Aarons, Esq. (SBN 233879)
              2     Shannon H.P. Ward, Esq. (SBN 308280)
                    THE AARONS LAW FIRM
              3     A Professional Corporation
              4     16000 Ventura Boulevard, Suite 850
                    Encino, California 91436
              5     Telephone: (818)794-9250
                    Facsimile:     (818) 302-2072
              6
                    Email: maarons@aaronslawftrm.com
              7            shannon@,aaronslawfi rm.com
              8     Attorney for Plaintiff Allyson Chagas
              9
                                                 SUPERIOR COURT IN THE STATE OF CALIFORNIA
            10
                                                             FOR THE COUNTY OF LOS ANGELES
            11
            12          Allyson Chagas                                                      CASE NO.
            13
                                                          Plaintiff,                        COMPLAINT FOR
            14
                                     vs.                                                          1.          Defamation
            15                                                                                    2.          Wrongful Termination in Violation
            16          United Airlines, Inc. and DOES 1                                                      of Public Policy
                        through 10, inclusive                                                     3.          Wrongful Termination - Breach of
            17                                                                                                Implied in Fact Contract
            18                                            Defendant.                              4.          Violation of Labor Code § 1102.5

            19                                                                              DEMAND FOR JURY TRIAL
            20
            21                                                         GENERAL ALLEGATIONS

            22                  Plaintiff, Allyson Chagas, brings this action against defendants United Airlines, Inc. and

            23      DOES 1 through 10, inclusive (collectively “Defendants”) and alleges as follows:

            24                  1.           This Court has proper jurisdiction of this action because the alleged wrongful

           25       conduct occurred at a place of employment situated in the County of Los Angeles, State of

            26      California.

            27                  2.           Plaintiff, Allyson Chagas (“Plaintiff’ or “Mr. Chagas”), is an adult male. At all

            28      material times alleged herein. Plaintiff was an employee of Defendant United Airlines, Inc. At all

                                                                                 -1-
                                                                        COMPLAINT FOR DAMAGES
     Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 6 of 36 Page ID #:11




     1   times herein, Mr. Chagas was living in the County of Los Angeles, State of California.
 2               3.     Defendant, United Airlines, Inc. (“United Airlines”), was and is a corporation
 3       licensed to do business in the State of California.
 4              4.      Plaintiff is ignorant of the true names and capacities of defendants sued herein as
 5       Does 1-10, inclusive and therefore sues these defendants by such fictitious names and capacities
 6       pursuant to California Code of Civil Procedure § 474. Plaintiff is informed and believes, and on
 7       that basis alleges, that each fictitiously named defendant is responsible in some manner for the
 8       occurrences alleged herein, and that Plaintiffs injuries, as alleged herein, were proximately
 9       caused by the conduct of said Doe defendants.
10              5.      Plaintiff is informed and believes, and on that basis alleges that, at all material
11       times herein, each of the Defendants was the joint employer, agent, employee, and/or working in
12       concert with the co-Defendants and was acting within the course and scope of such agency,
13       employment, and/or concerted activity and the acts of each Defendant are legally attributable to
14       the other Defendants.
15              6.      Plaintiff is further informed and believes, and thereon alleges, that all actions of
16       each Defendant herein alleged were ratified and approved by the other individual defendants and
17       by the officers and managing agents of each other corporate defendants. Plaintiff is further
18       informed and believes that to the extent that certain acts and omissions were perpetrated by
19       certain Defendants, the remaining Defendant or Defendants confirmed and ratified said acts and
20       omission;
21                           FACTS COMMON TO ALL CAUSES OF ACTION
22              7.     Mr. Chagas was hired by United Airlines in April of 2013 as a flight attendant.
23       He was based out of Los Angeles International Airport. Throughout Mr. Chagas 5 years of
24       employment with United Airlines he had an impeccable work history.
25              8.     On May 23, 2018, Mr. Chagas was a flight attendant on a flight from LAX to
26       London, staying overnight in London at the Copthome Tara Hotel which accommodations were
27       provided by United Airlines for the crew with a return shift on May 25, 2018.
28              9.     In the morning of May 25, 2018, Mr. Chagas left his room at the Copthome Tara

                                                         • 2-
                                           COMPLAINT FOR DAMAGES
     Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 7 of 36 Page ID #:12




     1   Hotel to get some food for his flight. When he returned to his room and went in, he noticed that
     2   his clothes, which he believed had been previously folded, were strewn about the room.
     3   Nervous, afraid, and shaken, Mr. Chagas went through his room checking for his belongings and
     4   making sure he was alone. Thankfully, no one was there and none of his belongings were taken.
     5   Mr. Chagas called out and a housekeeper came, and he spoke with her about what happened, and
     6   she said she would call security. As he needed to get ready for work and for his ride to the
     7   airport, Mr. Chagas cleaned up his room, changed into his uniform, and finished getting ready
     8   for work. He then proceeded to checkout and informed the folks at the front desk that he
     9   believed his room was broken into and he was worried for his safety and others.
    10           10.       Mr. Chagas also reported his safety concern about how he believed his room had
    11   been broken into at the Capthorne Tara Hotel to United Airlines. Mr. Chagas’ suggestions for
    12   change when he submitted his report was that United Airlines should not use the hotel in the
    13   future as it “comprises our safety.”
    14           11.       In retaliation for making these protected complaints about workplace safety.
    15   United Airlines launched an investigation, hut not into the Hotel, rather into Mr. Chagas’
    16   complaint. On June 5,2018, Mr. Chagas was issued a Letter of Investigation into his complaint
    17   and into the possibility that his complaint had damaged United’s business relationship with one
    18   of its vendors.
    19          12.        On June 18, 2018, United informed Mr. Chagas that he was being fired for
■   20   dishonesty, providing false information and making false accusations. In terminating Mr.
    21   Chagas, Defendants did so on the basis of false and defamatory statements included express and
    22   implied accusations that Mr. Chagas was dishonest, providing false information, and making
    23   false accusations. These and other similar false statements expressly and impliedly published
    24   that Mr. Chagas was dishonest, provided false information, and that he made false accusation.
    25   These statements were published, internally and externally and are foreseeably republished, were   !
                                                                                                            i
    26   understood by the recipients in their defamatory sense, and to be of and concerning Mr. Chagas.
    27          13.        United Airlines was more worried about its business relationship than its
    28   employees reasonable concern about safety.

                                                          -3-
                                             COMPLAINT FOR DAMAGES
     Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 8 of 36 Page ID #:13




     1                                      FIRST CAUSE OF ACTION
 2                                                   Defamation
 3                                        AGAINST ALL DEFENDANTS
 4               14.     Plaintiff re-alleges and incorporates by reference the allegations in paragraphs 1
 5       through 13 as though fully set forth herein.
 6               15.     Plaintiff is informed and believes Defendants, and each of them, by the herein-
 7       described acts, conspired to, and in fact, did negligently, recklessly, and intentionally caused
 8       excessive and unsolicited internal and external publications of defamation, of and concerning
 9       Plaintiff, to third persons and to the community; These false and defamatory statements
10       included express and implied dishonesty, providing false information, and making false
11       accusations.
12               16.     While the precise dates of these defamatory publications are not known to
13       Plaintiff, Plaintiff has discovered, within the last year, and are informed and believe the
14       publications started on or before May 31, 2018 and have continued thereafter. This defamation
15       published by Defendants, and each of them, was for the improper purpose of justifying Plaintiff’s
16       termination.
17               17.    These publications were outrageous, negligent, reckless, intentional, and/or
18       maliciously published and republished by Defendants, and each of them by and through their
19       agents and employees. Plaintiff is informed and believes that the negligent, reckless, and
20       intentional publications by Defendants, and each of them, were and continue to be, foreseeably
21       published and republished by Defendants, their agents and employees, recipients, in the
22       community. These foreseeable republications included those that Plaintiff was forced and
23       compelled to republish after his termination. Plaintiff hereby seeks damages for these
24       publications and all foreseeable republications discovered up to the time of trial.
25              18.     During the above-described time-frame. Defendants, and each of them, conspired
26       to, and in fact, did negligently, recklessly, and intentionally cause excessive and unsolicited
27       publication of defamation, of and concerning Plaintiff, to third persons, who had no need or
28       desire to know. Plaintiff is informed and believe that those third person(s) to whom these

                                                    -4-
                                           COMPLAINT FOR DAMAGES
     Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 9 of 36 Page ID #:14




 1     Defendants published this defamation are believed to include, but are not limited to, other agents
 2     and employees of Defendants, and each of them, Capthome Tara Hotel, and the community, all
 3     of whom are known to Defendants, and each of them.
 4             19.    The defamatory publications consisted of oral and written, knowingly false and
 5     unprivileged communications, tending directly to injure Plaintiff and Plaintiffs’ personal,
 6     business, and professional reputation. These publications included the following false and
 7     defamatory statements included express and implied accusations (in violation of Civil Code §§
 8     45 and 46(3)(5)) with the meaning and/or substance of expressly and impliedly that Plaintiff was
 9     dishonest, providing false information, and making false accusations.
10             20.    Plaintiff is informed, believes and fears that these false and defamatory per se
11     statements will continue to be published by Defendants, and each of them, and will be
12     foreseeably republished by their recipients, all to the ongoing harm and injury to Plaintiffs
13     business, professional, and personal reputation. Plaintiff also seeks redress in this action for all
14     foreseeable republications, including his own compelled self-publication of these defamatory
15     statements.
16             21.    The defamatory meaning of all of the above-described false and defamatory
17     statements and their reference to Plaintiff, were understood by these above-referenced third
18     person recipients and other members of the community who are known to Defendants, and each
19     of them, but unknown to Plaintiff at this time.
20             22.    None of Defendants’ defamatory publications against Plaintiff referenced above
21     are true.
22             23.    The above defamatory statements were understood as assertions of fact, and not
23     as opinion. Plaintiff is informed and believe this defamation will continue to be negligently,
24     recklessly, and intentionally published and foreseeably republished by Defendants, and each of
25     them, and foreseeably republished by recipients of Defendants’ publications, thereby causing
26     additional injury and damages for which Plaintiffs seek redress by this action.
27             24.    Each of these false defamatory per se publications, as set forth above, were
28     negligently, recklessly, and intentionally published in a manner equaling malice and abuse of any

                                                         -5-
                                         COMPLAINT FOR DAMAGES
 Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 10 of 36 Page ID #:15




 1   alleged conditional privilege, which Plaintiff deny existed, since the publications, and each of
 2   them, were made with hatred, ill will, and an intent to vex, harass, annoy, and injure Plaintiff in
 3   order to justify the termination of Plaintiff. Further, the malice is evidence by United Airline’s
 4   accusation that Mr. Chagas’ actions and complaints regarding his concerns for his own and his
 5   fellow flight attendants safety damaged United Airlines’ relationship with one of their
 6   vendors/suppliers, also the Copthome Tara Hotel.
 7          25.     Plaintiff is informed and believes that any alleged “investigation” allegedly
 8   conducted by Defendants was non-existent and at best reckless, and resulted in these complained
 9   of defamatory statements being published. Furthermore, these publications of defamation were
10   malicious also because Plaintiff was not provided information regarding the investigation and/or
11   allegations so that he could respond, correct, clarify, refute or redirect the investigation. Plaintiff
12   is informed and believes that the decision to terminate Plaintiff was made before any meeting
13   with Plaintiff to discuss the investigation and/or allegations. This made the investigation,
14   intentionally incomplete, and reckless since the key witness, namely Plaintiff, was not consulted
15   or interviewed about the truth or falsity of any relevant information found or about the
16   allegations before the decision to terminate was made.
17          26.     Each of these defamatory publications by Defendants, and each of them, were
18   made with knowledge that any alleged investigation did not support the unsubstantiated and
19   obviously false statements. The Defendants published these statements knowing them to be
20   false, unsubstantiated by any reasonable investigation. These acts of publication were known by
21   Defendants, and each of them, to be negligent to such a degree as to be reckless. In fact, not only
22   did Defendants, and each of them, have no reasonable basis to believe these statements, but they
23   also had no belief in the truth of these statements, and, in fact, knew the statements to be false.
24   Defendants, and each of them, excessively, negligently, and recklessly published these
25   statements to individuals with no need to know, and who made no inquiry, and who had a mere
26   general or idle curiosity regarding this information.
27          27.     The above complained-of publications by Defendants, and each of them, were
28   made with hatred and ill will towards Plaintiff and the design and intent to injure Plaintiff,

                                                 -6-
                                        COMPLAINT FOR DAMAGES
 Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 11 of 36 Page ID #:16




 1   Plaintiffs good name, reputation, employment and employability. Defendants, and each of
 2   them, published these statements, with an illegal purpose, not with intent to protect any interest
 3   intended to be protected by any privilege, but with negligence, recklessness and/or intent to
 4   injure Plaintiff and destroy her reputation. Therefore, no privilege existed to protect any of the
 5   Defendants from liability for any of these aforementioned publications or republications.
 6            28.   As a proximate result of the publication and republication of these defamatory
 7   statements by Defendants, and each of them. Plaintiff has suffered injury to his personal,
 8   business and professional reputations including suffering embarrassment, humiliation, emotional
 9   distress, shunning, anguish, fear, loss of employment, and employability, and significant
10   economic loss in the form of lost wages and future earnings, all to Plaintiffs economic,
11   emotional, and general damage in an amount according to proof
12            29.   Defendants, and each of them, committed the acts alleged herein recklessly,
13   maliciously, fraudulently, and oppressively, with the wrongful intention of injuring Plaintiff, for
14   an improper and evil motive amounting to malice, as described above, and which abused and/or
15   prevented the existence of any conditional privilege, which in fact did not exist, and with a
16   reckless and conscious disregard of Plaintiffs’ rights. All actions of Defendants, and each of
17   them, their agents and employees, herein alleged were known, authorized, ratified and approved
18   by the Defendants, and each of them. Plaintiffs are thus entitled to recover punitive and
19   exemplary damages from Defendants, and each of them, for these wanton, obnoxious, and
20   despicable acts in an amount based on the wealth and ability to pay according to proof at time of
21   trial.
22                                   SECOND CAUSE OF ACTION
23                        Wrongful Termination in Violation of Public Policy
24                                   AGAINST ALL DEFENDANTS
25            30.   Plaintiff re-alleges and incorporate by reference the allegations in paragraphs 1
26   through 13 as though fully set forth herein.
27            31.   As articulated above. Plaintiff was employed by Defendants. On or about June
28   18, 2018 Plaintiff was fired from Defendants.

                                                     -7-
                                       COMPLAINT FOR DAMAGES
 Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 12 of 36 Page ID #:17




     1           32.     Plaintiff was fired as a result of the defendants’ violation of fundamental public
 2       policies. It is against California Public Policy to terminate an employee who makes a complaint
         with reference to employee safety or health {Labor Code § 6310 et seq) or unsafe working
 4
         condition {Labor Code § 232.5), or who makes complaints about possible theft/burglary {Penal
 5
         Code §§ 459,484, 487 and 490, and/or in violation of the public policies as set out by California
 6
         Civil Code § 44, 45, and 46, and in numerous other statutory provisions.
 7
                 33.     Defendants’ conduct was a substantial factor in causing harm to Plaintiff,
 8
         including but not limited to: loss of earnings and other employment benefits, physical injuries,
 9
         pain and suffering, mental anguish and emotional distress. As such. Plaintiff is entitled to
10
         general and compensatory damages in amounts to be proven at the time of trial;
11
                 34.     The conduct of Defendants and each of them as described above was malicious,
12
13       fraudulent, and/or oppressive and done with a willful and conscious disregard for Plaintiffs

14       rights and for the deleterious consequences of Defendants’ actions. Defendants and each of

15       them, and their agents/employees or supervisors, authorized, condoned, and ratified the unlawful
16       conduct of each other. Consequently, Plaintiff is entitled to punitive damages against each of
17       said Defendants.
18                                         THIRD CAUSE OF ACTION
19                                 Wrongful Termination - Breach of Contract
20                                        AGAINST ALL DEFENDANTS
21              35.     Plaintiff re-alleges and incorporate by reference the allegations in paragraphs 1
22       through 13 as though fiilly set forth herein.
23              36.     Plaintiff and Defendants entered into an employment relationship.
24              37.     Defendants promised, by words and/or conduct, to discharge Plaintiff only for
25       good cause.
26              38.     Plaintiff substantially performed his job duties.
27              39.     Defendants discharged Plaintiff without good cause.
28              40.     As a direct and proximate result of DEFENDANTS’ unlawful conduct, Plaintiff

                                                     -8-
                                            COMPLAINT FOR DAMAGES
 Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 13 of 36 Page ID #:18




 1   has suffered and continues to suffer a loss of earnings and other employment benefits. Plaintiff
 2   is thereby entitled to general damages in amounts to be proven at the time of trial.
 3                                   FOURTH CAUSE OF ACTION
 4                             Violation of California Labor Code § 1102.5
 5                                       AGAINST All Defendants
 6           41.    Plaintiff re-alleges and incorporates by reference the allegations in paragraphs 1
 7   through 13 of this Complaint as though fully set forth herein.
 8          42.     At all times during Plaintiffs tenure with Defendants, and each of them, Plaintiff
 9   was protected by California state law from retaliation based on, or motivated by, his opposition
10   to practices in violation of the California Labor Code.
11          43.     California Labor Code § 1102.5(b) expressly prohibits employers from taking
12   retaliatory actions against an employee as follows:
13          (b) An employer, or any person acting on behalf of the employer, shall not retaliate
14          against an employee for disclosing information, or because the employer believes that the
15          employee disclosed or may disclose information, to a government or law enforcement
16          agency, to a person with authority over the employee or another employee who has the
17          authority to investigate, discover, or correct the violation or noncompliance, or for
18          providing information to, or testifying before, any public body conducting an
19          investigation, hearing, or inquiry, if the employee has reasonable cause to believe that the
20          information discloses a violation of state or federal statute, or a violation of or
21          noncompliance with a local, state, or federal rule or regulation, regardless of whether
22          disclosing the information is part of the employee’s job duties.
23          44.     Here, as more fully alleged above. Plaintiff engaged in activity protected by
24   section 1102.5(b) including, but not limited to instances when he complained about workplace
25   safety and safe accommodations for flight attendants provided by United and complaints about
26   possible theft^urglary.
27          45.     Shortly after making these complaints, and because of these complaints. Plaintiff
28   was terminated by Defendant.

                                                -9-
                                       COMPLAINT FOR DAMAGES
 Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 14 of 36 Page ID #:19




 1          46.     As a direct an proximate cause of Defendant’s acts, as alleged herein, Plaintiff has
 2   suffered and continued to suffer substantial losses in earnings and employment benefits, injury to
 3   her career and reputation, and extreme and enduring emotional distress including, but not limited
 4   to, humiliation, shock, embarrassment, fear, anxiety and discomfort, all of which amount to
 5   Plaintiffs damage which totals in excess of the minimum jurisdiction of this court, the precise
 6   amount to be proven at trial.
 7          47.     Additionally, Defendant committed the acts herein alleged maliciously,
 8   fraudulently, and oppressively, with the wrongful intention of injuring Plaintiff, and acted with
 9   an improper and evil motive amounting to malice, in conscious disregard for Plaintiffs rights,
10   and thus an award of exemplary and punitive damages is justified in an amount sufficient to
11   injure and punish Defendant.
12                                       PRAYER FOR RELIEF
                                                                                                           !
13          WHEREFORE, Plaintiff prays for Judgment against United Airlines and DOES 1
14   through 10, inclusive and collectively as follows:
15          1) For compensatory and general damages according to proof;
16          2) For exemplary and punitive damages;
17          3) For attorneys’ fees pursuant to Civil Code § 1021.5;
18          4) For costs of suit;
19          5) For pre-judgment and post judgment interest, at the legal rate; and
20          6) For such other and further relief as the Court deems appropriate and just.
21   Respectfully submitted
22
     Dated: March 27,2019                         The Aarons Law Firm
23
24
25
                                                  Martin I. Aafons
26                                                Attorneys for Plaintiff
27
28

                                               - 10-
                                       COMPLAINT FOR DAMAGES
 Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 15 of 36 Page ID #:20




     1                                  DEMAND FOR JURY TRIAL
 2             Plaintiff hereby demands a trial by jury.
 3
         Dated: March 27, 2019                              Th^ Aarons
 4
 5
                                                             4^
                                                     Martin 1. Aarons
 6                                                   Attorneys for Plaintiff
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                 . 11 -
                                         COMPLAINT FOR DAMAGES
              Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 16 of 36 Page ID #:21
Electronically FILED by Superior Court of California, County of Los Angeies on O3/28/2Ol%SlF{p/f0^^rri R, Carter, Executive Offtcer/Clerk of Court, by D. Williams.Deputy Clerk


                                                                                                                                                                              CM-010


                The Aarons Law Firm
                                                                      'rp'”wsr(?Sk 308280)                                                    FOR COURT use ONLY



                16000 Ventura Boulevard, Suite 850
                Encino, CA 91436
                   TELEPHONE NO.: 818-794-9250                             FAXNo.: 818-302-2072
              AHORNEY FOR (Name):        Plaintiff
             SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS AngclcS
                 STREET ADDRESS: 1 1 1 N. Hill StTCet
                 MAILING ADDRESS: 83016
                  CITY AND ZIP CODE Los Angelcs. CA 90012
                      BRANCH NAME Stanley Mosk
               CASE NAME:
               Allyson Chagas v. United Airlines, Inc., et al.
                                                                                                                             CASE NUMBER:
                  CIVIL CASE COVER SHEET                                      Complex Case Designation
             I / I Unlimited               I    I Limited
                                                                        I     I Counter       I   I Joinder
                     (Amount                      (Amount                                                               JUDGE:
                     demanded                     demanded is           Filed with first appearance by defendant
                     exceeds $25,000)             $25,000 or less)           (Cal. Rules  of Court, rule 3.402)           DEPT:

                                                     Items 1-6 below must be completed (see instructions on page 2).
             1. Check one box below for the case type that best describes this case:
                Auto Tort                                            Contract                                   Provisionally Complex Civil Litigation
                                                                     I     I Breach of contraclAwarranty (06)   (Cal. Rules of Court, rules 3.400-3.403)
                I___ I Auto (22)
                I___ I Uninsured motorist (46)                       LZl Rule 3.740 collections (09)            I    I Antilfusl/Trade regulation (03)
                Other PI/PD/WD (Personal Injury/Property             j I Other collections (09)                 LJ Conslruction defect (10)
                Damage/Wrongful Death) Tort                          i I Insurance coverage (16)                I__ I Mass lort (40)
                I      I Asbestos (04)                               I I Other contract (37)                    I__ I Securities iiligation (28)
                I      I Product liability (24)                      Real Property                              I I Environmental/Toxic tort (30)
                I      I Medical malpractice (45)                    I I Eminent domain/inverse                 I    I Insurance coverage claims arising from the
                I      I Other PI/PDAfW (23)                                  condemnation (14)                        above listed provisionally complex case
                                                                     I I Wrongful eviction (33)                        types (41)
                 Non-PI/PD/WD (Other) Tort
                                                                                                                Enforcement of Judgment
                I----- 1 Business tort/unfalr business practice (07) I I Other real property (26)
                (ZJ Civil rights (08)                                  Jnlawful Detainer                        I I Enforcement of judgment (20)
                 LJ Defamation (13)                                       I Commercial (31)                          Miscellaneous Civil Complaint
                 I ~} Fraud (16)                                        ZD Residential (32)                          □ RICO (27)
               I___ I Intellectual properly (19)                        Drugs (38)                          I    I Other complain! (not specified above) (42)
               L_3 Professional negligence (25)                   Judicial Review                           Miscellaneous Civil Petition
               □ Other non-PI/PD/WD tort (35)                         I Asset forfeiture (05)               I    I Partnership and corporate governance (21)
                Employment                                         ^ Petition re: arbitration award (11)           other pemon (not specified above) (A3)
                 / I Wrongful termination (36)                     __ 1 Writ of mandate (02)
                     I Other employment (15)                          I Other judicial review (39)                  ____________________________
             0 Thk nflRft I         I is    I / I is not    complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
                factors requiring exceptional judicial management:                       ___
                a.         Large   number    of separately represented parties      d. I    I Large number of witnesses
                b. ZZ Extensive motion practice raising difficult or novel e. I             i Coordination with related actions pending in one or more courts
                   ___ issues that will be time-consurriing to resolve                   ___ in other counties, states, or countries, or in a federal court
                c. I    I Substantial amount of documentary evidence                 f. I    I Substantial postjudgment judicial supervision

             3. Remedies sought (^chec/c aW fhaf app/x): a l / I monetary b.l / I nonmonetary; declaratory or injunctive relief                                   c. I / Ipunitive
             4. Number of causes of action (spec/^/' Four (04)
             5. TTiis case I     I is  I / 1 is not a class action suit.
             6. If there are any known related cases, file and serve a notice of related case. (You may use fonv^fM-OI5.)
             Date: March 28, 2019
             Martin I. Aarons
                                                fTYPE OR TONT NAME)
                                                                                                    ►                     ____________________
                                                                                                                                 -H’c
                                                                                                                   (SlGN^rUREOF^^ORATTORNEYFORPARTO
                                                                                    NOTICE
               • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                 under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
                 in sanctions.
               • File this cover sheet in addition to any cover sheet required by local court rule.
               • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                 other parties to the action or proceeding.
               • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onl^. ^ ^ ^
             Form Adopted for Mandatory Use                                                                                      CaL Rules of Court nies Z30. 3.220.3.40CF-3.4CI3, 3.740;
               JiKflcial Council of Calfornla
                                                                        CIVIL CASE COVER SHEET                                          Cal. StancSanfs of Judicial AdmInisimUon, std. 3.10
                CM-O10(Rev. July 1,2007)                                                                                                                              \vww.courilnlo.en.gov
                                                                                                                                                                 American LegalNel Inc.
                                                                                                                                                                 www.FormsVMwitftoH'.eom
  Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 17 of 36 Page ID #:22


                                                                                                                                         CM-010
                                    INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
  To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
  complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
  statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
  one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
  check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
  To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
  sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
  its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
  To Parties in Rule 3.740 Collections Cases. A "collections case” under rule 3.740 is defined as an action for recovery of money
  owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
  which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
  damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
. attachment The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
  time-for-service requirements and case management ailes, unless a defendant files a responsive pleading. A rule 3.740 collections
  case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
  To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
  case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
  completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be sen/ed with the
  complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
  plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
  the case Is complex.
                                                             CASE TYPES AND EXAMPLES
  Auto Tort                                        Contract                                          Provisionally Complex Civil Litigation (Cal.
        Auto (22)-Personal Injury/Property             Breach of Contract/Warranty (06)              Rules of Court Rules 3.400-3.403)
             Oamage/Wrongful Death                          Breach of Rental/Lease                         Anlllrust/Trade Regulation (03)
        Uninsured Motorist (46) (If the                         Contract (not unlawful detainer            Construction Defect (10)
             case Involves an uninsured                             or wrongful eviction)                  Claims Involving Mass Tort (40)
             motorist claim subject to                      Contract/Warranty Breach-Seller                Securities Lillgatlon (28)
             arbitration, check this item                       Plaintiff (not fraud or negligence)        Envtronmental/Toxic Tort (30)
             instead of Auto)                               Negligent Breach of Contract/                  Insurance Coverage Claims
  Other PI/PD/WD (Personal Injury/                              Warranty                                        (arising from provisionally complex
  Property Oamage/Wrongful Death)                           Other Breach of Contrad/Warranty                   case type listed above) (41)
  Tort                                                Collections (e.g.. money owed, open              Enforcement of Judgment
       Asbestos (04)                                        book accounts) (09)                            Enforcement of Judgment (20)
            Asbestos Property Damage                       Collection Case^eller Plaintiff                     Abstract of Judgment (Out of
            Asbestos Personal Injury/                      Other Promissory Note/Collections                         County)
                   Wrongful Death                               Case                                           Confession of Judgment (non­
        Product Liability (rwt asbestos or            Insurance Coverage (not provisbnally                           domestic relations)
            toxic/environmental) (24)                      complex) (18)                                       Sister Stale Judgment
        Medical Malpractice (45)                           Auto Subrogation                                    Administrative Agency Award
            Medical Malpractice-                           Other Coverage                                          (not unpaid taxes)
                   Physicians & Surgeons              Other Contract (37)                                      Pelitlon/Cerllficalion of Entry of
            Other Professional Health Care                 Contractual Fraud                                       Judgment on Unpaid Taxes
                   Malpracdce                              Other Contract Dispute                              Other Enforcement of Judgment
       Other PI/PD/WD (23)                         Real Property                                                     Case
            Premises Liability (e.g.. slip            Eminent Oomain/Inverse                           Miscellaneous Civil Complaint
                   and fall)                               Condemnation (14)                               RICO (27)
            Intentional Bodily Injury/PD/WD           V\frongful Eviction (33)                             Other Complaint (not specked
                   (e.g., assault, vandalism)                                                                  above) (42)
                                                      Other Real Property (e.g., quiet title) (26)
            Intentional Infliction of                      Writ of Possession of Real Property                 Declaratory Relief Only
                   Emotional Distress                      Mortgage Foreclosure                                Injunctive Relief Only (non-
            Negligent Infliction of                        Quiet Title                                               harassment)
                   Emotional Distress                      Other Real Property (not eminent                    Mechanics Lien
            Other PI/PD/WD                                 domain, landlordAenant, or                          Other Commercial Complaint
  Non-PI/PD/WD (Other) Tort                                foreclosure)                                              Case (norhtort/norhcomplex)
                                                  Unlawful Detainer                                            Other Civil Complaint
       Business Tort/Unfair Business                                                                                (non-tort/non-complex)
           Practice (07)                              Commercial (31)
       Civil Rights (e.g., discrimination,                                                             Miscellaneous Civil Petition
                                                      Residential (32)                                     Partnership and Corporate
           false arrest) (not cMI                     Drugs (38) (// the case Involves Illegal
            harassment) (08)                                                                                   Governance (21)
                                                           drugs, check this Item; otherwise,              Other Petition (not specified
       Defamation (e.g., slander, llbeO                    report as Commercial or Residential)
              (13)                                                                                             above) (43)
                                                  Judicial Review                                              Civil Harassment
       Fraud (16)                                     Asset Forfeiture (05)                                    Workplace Violence
       Intellectual Property (19)                     Petition Re: Arbitration Award (11)
       Professional Negligence (25)                                                                            Elder/Oependent Adult
                                                      Writ of Mandate (02)                                          Abuse
           Legal Malpractice                               Writ-^minlstratlve Mandamus                         Election Contest
           Other Professional Malpractice                  Writ-Mandamus on Limited Court                      Petition for Name Change
                (not medical or legal)                         Case Matter
        Other Non-Pl/PD/WD Tort (35)                                                                           Petition for Relief From Late
                                                           Writ-Other Limited Court Case                            Claim
  Employment                                                   Review
      Wrongful Termination (36)                                                                                Other Civil Petition
                                                      Other Judicial Review (39)
      Other Employment (15)                                Review of Health Officer Order
                                                           Notice of Appeal-Labor
                                                              Commissioner Appeals
CM-010(Rov. July 1.2007)                                                                                                                  Page 2 012
                                                      CIVIL CASE COVER SHEET
   Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 18 of 36 Page ID #:23



 SHORT Tm£:                                                                                            CASE t^BER
              Chagas v. United Airlines, Inc., et al.


                               CIVIL CASE COVER SHEET ADDENDUM AND
                                       STATEMENT OF LOCATION
                (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
               This form is required pursuant to Local Rule 2.3 In all new civil case filings in the Los Angeles Superior Court.



       Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
               Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


       Step 2: In Column B, check the box for the type of action that best describes the nature of the case.


     Step 3: In Column C, circle the number which explains the reason for the court filing location you have
             chosen.

                                            Applicable Reasons for Choosing Court Filing Location (Column C)

1. Class actions must be filed in the Stanley Mosk Courthouse. Central District.       7. LocaUon where pelitloner resides.
2. Permissive filing In central district.                                              6. Location wherein defendanl/respondenl functions whoily.
                                                                                                                                                                       I
3. Location where cause of action arose.                                               9. Location Vi^ere one or more of the parties reside.
4. Mandatory personal injury filing in North District.                                10. Location of Labor Commissiorter Office.
                                                                                      11. Mandatory filing location (Hub Cases - unlawful detainer, limited
5. Location where performance required or defendant resides.                          non-collection, limited collection, or personal Injury).
6. Location of property or permar^ntly garaged vehicle.




                msssm wmsrmimmsmsrnks
                                                                                                                                                               : i.'
                                                                                                                                           ‘Applicable .Reasons-..
                                                                                                                                           ^^?^?‘?Rv3Above.^5

                             Auto (22)              □ A7100 Motor Vehicle - Personal Injury/Property DamageAA/rongful Death                1.4. 11
    o t
                     Uninsured Motorist (46)        □ A7110 Personal Injury/Property Damage/Wrongful Death - Uninsured Motorist            1,4.11


                                                    □ A6070 Asbestos Property Damage                                                       1.11
                          Asbestos (04)
                                                    □ A7221 Asbestos - Personal InJuryAAfrongful Death                                     1.11

                      Product LiabDily (24)         □ A7260 Product Liability (not asbestos or toxic/envlronmental)                        1,4,11

   ■g. a                                            □ A7210 Medical Malpractice - Physicians & Surgeons                                    1.4,11
   fa
   — o>
                    Medical Malpractice (45)
                                                    □ A7240 Clher Professional Health Care Malpractice                                     1.4,11

    gM 52
    o *3                                            □ A7250 Premises Liability (e.g., slip and fall)
                                                                                                                                           1.4, 11
                         Other Personal
   ^I
   f    (D
                         Injury Property
                        Damage Wrongful
                                                    □ A7230 Intentional Bodily Injury/Property DamageAyrongful Death (e.g.,
                                                            assault, vandalism, etc.)
                                                                                                                                           1.4. 11
   S “                     Death (23)                                                                                                      1.4.11
                                                    □ A7270 Intentional Infliction of Emotional Distress
                                                                                                                                           1.4. 11
                                                    □ A7220 Other Personal inJury/Property DamageA/Vrongful Death




   LACIV109 (Rev 2/16)                            CIVIL CASE COVER SHEET ADDENDUM                                                       Local Rule 2.3
   LASC Approved 03-04                               AND STATEMENT OF LOCATION                                                             Page 1 of 4
  Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 19 of 36 Page ID #:24



SHORT TriLE-                                                                                       CASE NUMBER
               Chagas v. United Airlines, Inc., et al.


               -"pCCivli .Case.Cover'Sheet,'vv:^:                                                                                     Reasons -'See'Slep 3


                      Business Tori (07)            □ A6029 Other Commercial/Business Tort (not fraud/breach of contract)             1.2.3

                       Civil Rights (08)            □ A6005 Civil Rights/Discrimination                                               1,2.3
   S-lr
   2^
   ^ S                 Defamation (13)              □ A6010 Defamation (slander/Iibel)                                                1.2.3

   f-i.                   Fraud (16)                □ A6013 Fraud (no contract)                                                       1.2.3
   re O

                                                    □ A6017 Legal Malpractice                                                         1.2.3
   e's           Professional Negligence (25)
   <£ S’                                            □ A6050 Other Professional Malpractice (not medical or legal)                     1.2.3
   c E
   o re
   z o
                           Other (35)               □ A6025 Other Non-Personal Injury/Property Damage tort                            1. 2, 3

                  Wrongful Termination (36)         □ A6037 Wrongful Termination                                                      1^3
     a>
     E
     >«                                             □ A6024 Other Employment Complaint Case                                           1.2.3
     Q.            Other Employment (15)
     E                                              □ A6109 Labor Commissioner Appeals                                                10
     UJ

                                                    □ A6004 Breach of Rentat/Lease Contract (not unlawful detainer or wrongful        2.5
                                                            eviction)
                 Breach of Contract/Wananty                                                                                           2,5
                             (06)                   □ A6008 ContractAMarranty Breach -Seller Plaintiff (no fraud/negligence)
                       (not Insurance)                                                                                                1,2.5
                                                    □ A6019 Negligent Breach of ContractAAlan'anty (no fraud)
                                                                                                                                      1,2.5
                                                    □ A6028 Other Breach of Contracl/Warranty (not fraud or negligence)


     re
                                                    □ A6002 Collections Case-Seller Plaintiff                                         5, 6.11
                        Collections (09)
     o
                                                    □ A6012 Other Promissory Note/Collections Case                                    5,11
     o                                              □ A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                5. 6.11
                                                            Purchased on or after January 1.2014)
                   Insurance Coverage (18)          □ A6015 Insurance Coverage (not complex)                                          1.2. 5,8

                                                    □ A6009 Contractual Fraud                                                         1.2. 3,5
                      Other Contract (37)           □ A6031 Tortious Interference                                                     1.2. 3.5
                                                    □ A6027 Other Contract Dispute(not breach/insurance/fraud/negllgence)             1.2. 3. 8,9

                   Eminent Domain/Inverse           □ A7300 Eminent Domain/Condemnation               Number of parcels.              2.6
                     Condemnation (14)

     Q.             Wrongful Eviction (33)          □ A6023 Wrongful Eviction Case                                                    2.6
     o
     a.
     re                                             □ A6018 Mortgage Foreclosure                                                      2.6
                   Other Real Property (26)         □ A6032 Quiet Title                                                               2.6
                                                    □ A6060 Other Real Property (not eminent domain, landlord/tenant, foredosure)     2.6

                Unlawful Detainer-Commercial        □ AB021 Unlawful Detainer-Commerdal (not drugs or wrongful eviction)              6.11
     u
                             (31)
     ■I          Unlawful Detainer-Residential      □ A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)            6.11
                             (32)
     3               Unlawful Detainer-             □ A6020F Unlawful Detainer-Post-Foreclosure                                       2.6,11
                    Post-Foredosure (34)
     J2
      c                                                                                                                               2. 6.11
     3           Unlawful Detainer-Drugs (38)       □ A6022 Unlawful Detalner-Onigs



 LACIV109 (Rev 2/16)                                CIVIL CASE COVER SHEET ADDENDUM                                                 Local Rule 2.3
 LASC Approved 03-04                                   AND STATEMENT OF LOCATION                                                      Page 2 of 4
 Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 20 of 36 Page ID #:25



SHORT TFRE:                                                                                            CASE NUMBER
                 Chagas v. United Airlines, Inc., et al.

                                                                                                                                 ';-!;>;;C.-AppliMble ••••,■.'?
                 ■     Civli Case Cover Sheet v..-1;                                                                             ;Reasons-See.Step3


                        Asset Forfeiture (05)          □ A6106 Asset Forfeiture Case                                             2. 3.6

                     Petition re Arbitration (11)      □ A6116 Petition to Compel/ConfirmA/acate Arbitration                     2.5
        $
    .Si
                                                       □ A6151 Writ-Administrative Mandamus                                      2.8
                        Writ of Mandate (02)           □ A6152 Writ-Mandamus on Limited Court Case Matter                        2
    .u
    ■o
                                                       □ A6153 Writ - Other Limited Court Case Rewew                             2
    —>
                     Other Judicial Review (39)        □ A6150 OtherWrit/JudicialReview                                          2.8

                  Antitrust/Trade Regulation (03)      □ A6003 Antitnist/Trade Regulation                                        1.2.8
        c
        o
                      Construction Defect (10)         □ A6007 Construction Defect                                               1,2.3
    ■s
                     Claims Involving Mass Tort        □ A6006 Ciaims Invoiving Mass Tort                                        1,2. 8
    *5.                         (40)
    E
    o                 Securities Litigation (28)       □ A6035 Securities Litigation Case                                        1.2.8
    o

                            Toxic Tort                 □ A6036 Toxic Tort/Environmental                                          1.2. 3. 8
        §                Enwonmental (30)
        o            Insurance Coverage Claims                                                                                   1.2. 5.8
    £                                                  □ A6014 Insurance Coverage/Subrogation (complex case only)
                       from Complex Case (41)

                                                       □ A6141 Sister State Judgment                                             2,5.11
                                                       □ A6160 Abstract of Judgment                                              2,6
   a>       o>                                         □ A6107 Confession of Judgment (non-domestic relations)                   2,9
   E  E
   a> o)
                            Enforcement                                                                                    K
                          of Judgment (20)             □ A6140 Administrative Agency Award (not unpaid taxes)                    2.8
   2 =
  UJ *0                                                ,□ A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax         2.8
                                                       □ A6112 Other Enforcement of Judgment Case                                2, 8. 9

                              RICO (27)                □ A6033 Racketeering (RICO) Case                                          1, 2. 8
            «
   s =                                                 □ A6030 Declaratory Relief Only                                           1,2.8

  it
   s O
                         Other Complaints
                     (Not Specified Above) (42)
                                                       □ A6040 Injunctive Relief Only (not domestic/harassment)
                                                       □ A6011 Other Commercial Complaint Case (non-tort/non-complex)
                                                                                                                                 2.8
                                                                                                                                 1,2.8
  S o                                                                                                                            1.2.8
                                                       □ A6000 Other Ci\41 Complaint (non-torVnon-complex)

                       Partnership Corporation         □ A6113 Partnership and Corporate Governance Case                         2, 8
                          Governance (21)

                                                       □ A6121 Civil Harassment                                                  2, 3.9

   ii                                                  □ A6123 Workplace Harassment                                              2.3.9

  II
   C)
                         other Petitions (Not
                        Specified Above) (43)
                                                       □ A6124 Elder/Dependent Adult Abuse Case
                                                       □ A6190 Election Contest
                                                                                                                                 2.3.9

                                                                                                                                 2
  s O                                                  □ A6110 Petition for Change of Name/Change of Gender                      2,7
                                                       □ A6170 Petition for Relief from Late Claim Law                           2. 3.8
                                                       □ A6100 Other Civil Petition                                              2.9




 LAC1V109 (Rev 2/16)                                   CIVIL CASE COVER SHEET ADDENDUM                                         Local Rule 2.3
 LASC Approved 03-04                                      AND STATEMENT OF LOCATION                                              Page 3 of 4
   Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 21 of 36 Page ID #:26



                                                                                            CASE NUMBER
 SHORT TITLE:
                  Chagas v. United Airlines, Inc., et al.


Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
        type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
                {No address required for class action cases).

                                                                        ADDRESS:

   REASON:                                                              1 World Way
     □ 1.02.D3.D4.D5.D6.D7. □ 8. □ 9.D10.D11.



   CrTY:                                       STATE;       ZIP CODE;

   Los Angeles                                 CA           90045


Step 5: Certification of Assignment: (certify that this case is properly filed in the Central                        District of
        the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




                                                                                               //
   Dated: March 28. 2019
                                                                                         (SIGNATURE OF ATTWINEY/FIUNG PARTY)




   PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
   COMMENCE YOUR NEW COURT CASE:

           1.    Original Complaint or Petition.
           2.    If filing a Complaint, a completed Summons form for issuance by the Clerk.

           3.    Civil Case Cover Sheet, Judicial Council form CM-010.
           4     Civil Case Cover Sheet Addendum and Statement of Location form, LACIV109, LASC Approved 03-04 (Rev.
                 02/16).
           5.    Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
           6.    A signed order appointing the Guardian ad Litem. Judicial Council form CIV-010, if the plaintiff or petitioner is a
                 minor under 18 years of age will be required by Court in order to issue a summons.

           7.    Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
                 must be served along with the summons and complaint, or other initiating pleading in the case.




   LACIV 109 (Rev 2/16)                        CIVIL CASE COVER SHEET ADDENDUM                                               Local Rule 2.3
   LASC Approved 03-04                            AND STATEMENT OF LOCATION                                                    Page 4 of 4
   Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 22 of 36 Page ID #:27

                                                                                                    Reserved for Clerk’s RIe Stamp
                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:                                                                                         FILED
 Stanley Mosk Courthouse                                                                           Simsrior Court of CaDfcsnia
                                                                                                     ^untyof LosAngstes
 111 North Hill Street, Los Angeles, CA 90012
                                                                                                         03/28/2019
                  NOTICE OF CASE ASSIGNMENT                                               S^eriR Cate.EucuSveO&B/ OediafCain
                                                                                            gy.                     WSiamS           Ospuly
                          UNLIMITED CIVIL CASE

                                                                                    CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.   19STCV10797

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE               DEPT     ROOM                     ASSIGNED JUDGE                        DEPT             ROOM
         John P. Doyle                     58
                                                                 uj




    Given to the piaintiff/Cross-Compiainant/Attomcy of Record    Sherri R. Carter, Executive Officer / Clerk of Court

    on 03/29/2019                                                         By DaNanq Williams                                     j Deputy Clerk
                 (Date)

LACIV190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
   Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 23 of 36 Page ID #:28


                                   Instructions for handling unlimited civil cases

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.
APPLICATION
The Division 7 Rules were effective January 1,2007. They apply to all general civil cases.
PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.
CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.
TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:
COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross­
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.
STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial dale, and expert witnesses.
FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.
SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.
This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.
Class Actions
 Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.
*Provisionallv Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




l_ACIV190 {Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
   Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 24 of 36 Page ID #:29




SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
Branch Name: Stanley Mosk Courthouse
Mailing Address: 111 North Hill Street
City, State and Zip Code: Los Angeles CA 90012


SHORT TITLE: ALLYSON CHAGAS vs UNITED AIRLINES, INC., et al.                  CASE NUMBER:
                                                                              19STCV10797
             NOTICE OF CONFIRMATION OF ELECTRONIC FILING

The Electronic Filing described by the below summary data was reviewed and accepted by the Superior Court of
California, County of LOS ANGELES. In order to process the filing, the fee shown was assessed.

Electronic Filing Summary Data

Electronically Submitted By; Green Filing
Reference Number: 2911343_1
Submission Number; 19LA00395494
Court Received Date: 03/28/2019
Court Received Time; 11:10 am
Case Number: 19STCV10797
Case Title: ALLYSON CHAGAS vs UNITED AIRLINES, INC. , et al.
Location: Stanley Mosk Courthouse
Case Type: Civil Unlimited
Case Category: Wrongful Termination
Jurisdictional Amount; Over $25,000
Notice Generated Date: 03/29/2019
Notice Generated Time: 2:13 pm

Documents Electronically Filed/Received                        Status

.Complaint                                                Accepted




Summons                                                   Accepted




Civil Case Cover Sheet                                    Accepted




Notice (name extension)                                   Accepted




                                           NOTICE OF CONFIRMATION OF FILING
   Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 25 of 36 Page ID #:30




Court Payment Receipt Number


Comments
Submitter's Comments: Thank you!!

Clerk's Comments:

Electronic Filing Service Provider Information
Service Provider: Green Filing
Contact: Green Filing
Phone: (801)448-7268




                                     NOTICE OF CONFIRMATION OF FILING
Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 26 of 36 Page ID #:31




                                  VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                     The Early Organizational Meeting Stipulation, Discovery
       I iii                      Resolution Stipulation, and Motions in Limine Stipulation are
     Supwfor Court of Collfomla
     County of Lob AngeloB        voluntary stipulations entered into by the parties. The parties
                                  may enter into one, two, or all three of the stipulations;
                                  however, they may rrat alter the stipulations as written,
       LAC BA
                                  because the Court wants to ensure uniformity of application.
     Los AngBlit County
     Bar Association              These stipulations are meant to encourage cooperation
     UtissUon Section

     Los Angelas County           between the parties and to assist in resolving issues in a
     Bar Association Labor arul
     Employment Law Sactloa       manner that promotes economic case resolution and judicial
                                  efficiency.
      O'
             ot»t?
                                      The    following organizations endorse        the   goal of
     Consumer Attorneys
     Association of Los Angeles
                                  promoting efficiency in litigation and ask that counsel
                                  consider using these stipulations as a voluntary way to
                                  promote communications and procedures among counsel

     imm
     i#i«
                                  and with the court to fairly resolve issues in their cases.

                                  4Los Angeles County Bar Association Litigation Section^
    Southern CaUfomla
    Ciefensa Cwnsel
                                             # Los Angeles County Bar Association
                                                Labor and Employment Law Section^

    Assodallonof
    Busbiesc Trial Lawyers
                                      ^Consumer Attorneys Association of Los Angeles^


                                            ^Southern California Defense Counsel^


                                            ^Association of Business Trial Lawyers^

    CeDIbmla Employment
    Lswysrs Association
                                       ^California Employment Lawyers Association^

       LACIV230(NEW)
       LASC Approved 4<11
       For Opiional Use
Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 27 of 36 Page ID #:32




  Mus Mc AODuu OF *nom£T cn PMinr Miion Anoniar                 tUiefiARNUlSCR                    la CM'f r •• (Mrw




           TELEPHONE NO.:                         FAX NO. (OptiBiul):
   E>MML ADDRESS (Opltonan:
      ATTORNEY FOR (Noma):
   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
  COURTHOUSE AOORESS:


  PLAINTIFF;


  DEFENDANT:


                                                                                    cAseNuussa*
                   STIPULATION - DISCOVERY RESOLUTION

       This stipulation Is intended to provide a fast and informal resolution of discovery issues
       through limited paperwork and an informal conference with the Court to aid in the
       resolution of the issues.

       The parties agree that:

        1. Prior to the discovery cut-off in this action, no discovery motion shall be Hied or heard unless
           the moving party first makes a written request for an Informal Discovery Conference pursuant
           to the terms of this stipulation.

       2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
          and determine whether it can be resolved informally. Nothing set forth herein will preclude a
          party from making a record at the conclusion of an informal Discovery Conference, either
          orally or In writing.

       3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
          presented, a party may request an Informal Discovery Conference pursuant to the following
          procedures:

                a. The party requesting the Informal Discovery Conference wilt:

                          Fite a Request for Informal Discovery Conference with the clerk’s office on the
                          approved form (copy attached) and deliver a courtesy, conformed copy to the
                          assigned department;

                   li.    Include a brief summary of the dispute and specify the relief requested: and

                  ill.    Serve the opposing party pursuant to any authorized or agreed method of service
                          that ensures that the opposing party receives the Request for Informal Discovery
                          Conference no later than the next court day following the filing.

                b. Any Answer to a Request for Informal Discovery Conference must:

                    i. ’ Also be filed on the approved form (copy attached):

                   11.    Include a brief summary of why the requested relief should be denied;
       LACrV036 (new)
       LASC Approved 04M1               STIPULATION - DISCOVERY RESOLUTION
       Far Opllonal Use                                                                                     Page 1 of 3
Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 28 of 36 Page ID #:33




     »«RI miE                                                                  CAMteASER




                III.   Be filed within two (2) court days of receipt of the Request; and

                iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                       method of service that ensures that the opposing party receives the Answer no
                       later than the next court day following the filing.

         c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
            be accepted.

         d. If the Court has not granted or denied the Request for Informal Discovery Conference
            within ten (10} days following the filing of the Request, then it shall be deemed to have
            been denied. If the Court acts on the Request, the parties will be notified whether the
            Request for Informal Discovery Conference has been granted or denied and, if granted,
            the date and lime of the Informal Discovery Conference, which must be within twenty (20)
            days of the filing of the Request for Informal Discovery Conference.

         e. If the conference is not held within twenty (20) days of the filing of the Request for
            Informal Discovery Conference, unless extended by agreement of the parties and the
            Court, then the Request for the Informal Discovery Conference shall be deemed to have
            been denied at that time.

     4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
        without the Court having acted or (c) the Informal Discovery Conference is concluded without
        resolving the dispute, then a party may file a discovery motion to address unresolved issues.

     5. The parties hereby further agree that the time for making a motion to compel or other
        discovery motion is tolled from the date of filing of the Request for Informal Discovery
        Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
        filing of the Request for informal Discovery Conference, whichever is earlier, unless extended
        by Order of the Court.

         It is the understanding and intent of the parties that this stipulation shall, for each discovery
         dispute to which it applies, constitute a writing memorializing a “specific later date to which
         the propounding (or demanding or requesting] party and the responding party have agreed in
         writing.* within the meaning of Code Civil Procedure sections 2030.300(c). 2031.320(c), and
         2033.290(c).

     6. Nothir>g herein will preclude any party from applying ex parte for appropriate relief. Including
        an order shortening time for a motion to be heard concerning discovery.

     7. Any party may terminate this stipulation by giving twenty^one (21) days notice of Intent to
        terminate the stipulation.

     8. References to “days" mean calendar days, unless otherwise noted. If the date for performing
        any act pursuant to (his stipulation falls on a Saturday, Surnfay or Court holiday, then the time
        for performing that act shall be extended to the next Court day.



     LACIV03S(n8w)
     LASC Approved 04/11         STIPULATION - DISCOVERY RESOLUTION
     ForOplbnal Use                                                                              Page 2 o( 3
Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 29 of 36 Page ID #:34




     KMOffTirU                                                      MCMMtK




     The following parties stipulate:

     Date:
                  (TYPE OR PRINT NAME)                            (ATTORNEY FOR PlAtMTJFF)
     Date:
                  (TYPE OR PRINT NANC)                           (AHORNEY f OR OEFENOANT)
     Date:
                                                     >
                  (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENOANT)
     Date:
                  (TYPE OR PRINT NAME)                           (ATTORNEY FOR OEFENOANT)
     Dale:
                                                     >
                  (TYPE OR PRINT NA^O                     (ATTORNEY FOR                          j
     Date:                                           v»



                  (TYPE OR TOINT NAME)                    (ATTORNEY FOR                          I

     Date:
                  (TYPE OR PRINT NAME)                    (ATTORNEY FW




                                                                                                        f ,




     LACIV036 (now)
     USCApprevad 04/11           STIPULATION - DISCOVERY RESOLUTION
     For Opiional Use                                                                        Paso3or3
Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 30 of 36 Page ID #:35




  Muc MCAOOAEts w AnanKtvMfARTVMiMxn anomcT                    auitunwaatn                     llOTW>«a ■» Ob* • rti Bm*




           mEPKONENOu                            FAX NO. (Opiional):
         ADDRESS (OpDona!):
      ATTORNEy FOR tNamol:
   SUPERIOR COURT OF CAUFORNIA, COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:

  PLAINTIFF;

  DEFENDANT:

                                                                                       CASENIAIBE^
           STIPULATION - EARLY ORGANIZATIONAL MEETING

       This stipulation Is intended to encourage cooperation among the parties at an early stage in
       the litigation and to assist the parties In efficient case resolution.
       The parties agree that

       1. The parties commit to conduct an initial conference (iri-person or via teleconference or via
          videoconference) within 15 days from the date this stipulation is signed, to discuss end consider
          whether there can be agreement on the following:

               a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                  amendment as of right, or if the Court would allow leave to amend, could an amended
                  complaint resolve most or all of the Issues a demurrer might othenvise raise? If so, the parties
                  agree to work through pleading issues so that a demurrer need only raise issues they cannot
                  resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                  would some other type of motion be preferable? Could a voluntary targeted exchange (rf
                  documents or Information by any party cure an uncertainty in the pleadings?

               b. Initial mutual exchanges of documents at the -core" of the litigation. (For example. In an
                  employment case, the employment records, personnel file and documents relating to the
                  conduct in question could be considered “core." In a personal Injury case, an Incident or
                  police report, medical records, and repair or maintenance recoids could be considered
                  “core.");

           c. Exchange of names and contact Information of witnesses;

           d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
              indemnify or reimburse for payments made to satisfy a judgment;

           e. Exchange of any other information that might be helpful to facilitate understanding, handling,
              or resolution of the case In a manner that preserves objections or privileges by agreement;

           f.     Controlling issues of law that, if resolved earty, will promote efficiency and economy In other
                  phases of the case. Also, when and how such issues can be presented to the Court;

           g. Whether or when the case should be scheduled with a settlement officer, what discovery or
              court ruling on legal issues Is reasonably required to make settlement discussions meaningful,
              and whether the parties wish to use a sitting Judge or a private mediator or other options as
      LACIV 229 (Rav 02/15)                                       -
      LASCAppn»ved 04/11        STIPULATION - EARLY ORGANIZATIONAL MEETING
      For OpOona) Use                                                                                            Page 1 ol2
Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 31 of 36 Page ID #:36




     «Moaitni£




                 discussed in the "Attemative Dispute Resolution (ADR) Information Package” served with the
                 complaint;

          h. Computation of damages, including documents, not privileged or protected from disclosure, on
             v\tiich such computation is based;

          1.     Whether the case is suitable for the Expedited Jury Trial procedures (see information at
                 www.lacourtora under "Civir and then under "Genera] Information'^.

     2.          The time for a defending party to respond to a ccMnplaint or cross*complaint will be extended
                 to                         for the complaint, and                             for the cross-
                          (MSERT DATE)                                        (INSERT DATE)
                 complaint, which is comprised of the 30 days to respond under Goverrvnent Code § 68616(b),
                 and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                 been found by the Civil Supervising Judge due to the case management benefits provided by
                 this Stipulation. A copy of the General Order can be found at wwwJacour1.Qra under "CIviT,
                 click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".

     3.          The parties v^ll prepare a joint report tided "Joint Status Report Pursuant to Initial Conference
                 and Early Organizational Meeting Stipulation, and If deslr^, a proposed order summarizing
                 results of their meet and confer and advising the Court of any way it may assist the parties’
                 efficient conduct or resolution of the case. The parlies shall attach the Joint Status Report to
                 the Case Marugement Conference statement, and file the documents when the CMC
                 statement is due.

     4.          References to "days* mean calendar days, unless otherwise noted. If the date for performing
                 any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
                 for performing that act shall be extended to the next Court day

     The following parties stipulate:
     Date:
                                                                  >
                    (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PWINTIFF)
     Date:
                                                                  >
                    (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
     Date:
                                                                  >
                    (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
     Dale:
                                                                  >
                    fTYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
     Dale:
                                                                  >
                    (TYPE OR PRINT NAME)                                (ATTORNEY FOR
     Date;
                                                                  >
                    (TYPE OR PRINT NAME)                                (ATTORNEY FOR
     Date:
                                                                  >
                   (TYPE OR PRINT NAME)                                 (ATTORNEY FOR


     LACrV 229 (Rev 02/15)
     LASC Approved 04/11       STIPULATION X EARLY ORGANIZATIONAL MEETING                                 PaoeZorz
Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 32 of 36 Page ID #:37




   NiMEMXMAener oncRicranfAAnrMiiiaui Anomrr                         8UIEDMMUUSCR                          RaHMi la Oi*'* I to llMW




            TELEPHONE NO.                               FAX NO, (OpUonal}:
   E-MAIL >^RESS (Optfonol)
      ATTORNEr FOR (Mamet
   SUPERIOR COURT OF CALIFORNIA. COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:

  PtAlNHFF:

  DEFENOANT:

                                                                                                   CASE NUUBCA
                       INFORMAL DISCOVERY CONFERENCE
                 (pursuant to ihe Discovery Resolution Stipulation ol the parties)
       1. This document relates to:
                    □□
                     Request for Informal Discovery Conference
                     Answer to Request for Informal Discovery Conference
       2. Deadline for Court to decide on Request:                     (insert data 10 calendar days following fiSng of
               (he Requost)

       3. Deadline for Court to hold Informal Discovery Conference:                                          (Insert dais 20 cafendar
               days foOowtng fling of the Request).

       4. For a Request for Informal Discovery Conference, briefly describe the nature of the
          discovery dispute, including the fects and legal arguments at Issue. For an Answer to
          Request for Informal Discovery Conference, briefly describe why the Court should deny
          the requested discovery. Including the facts and legal arguments at Issue.




                                                                                                                                      r
           i




                                                                                                                                      I
                                                                                                                                      I




       LACrV 094 (new)
       LASC Approved 04/11
                                             INFORMAL DISCOVERY CONFERENCE
       For Opitonal Use                (pursuant to the Discovery Resolution Stipulation of the parties)
Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 33 of 36 Page ID #:38




   Miia AMO AOORmof attomt oofMn winojt Anomcv               SIAtf OU) HVkStn             R«»«Na4 to Osk • rit U*a»




            TELEPHONE NO.;                       FAXNO,(OpUocBl):
   E-MAIL A00RE5S (OpUvQl):
      ATTORNEY POS tNamol:
   SUPERIOR COURT OF CALIFORNIA. COUNTY OF LOS ANGELES
   COURTHOUSE ADDRESS:


   PLAINTIFF;


   OEFENOANT:


                                                                                   CASENUMK^
                 STIPULATION AND ORDER - MOTIONS IN LIMINE


        This stipulation Is Intended to provide fast and Informal resolution of evidentiary
        issues through diligent efforts to define and discuss such issues and limit paperwork.


        The parties agree that:
        1. A( least       days before the final status conference, each party will provide all other
           parties with a list containing a one paragraph explanation of each proposed motion in
           limine. Each one paragraph explanation must identify the substance of a single proposed
           motion In limine and the grounds for the proposed motion.

        2, The parties thereafter will meet and confer, either in person or via teleconference or
           videoconference, concerning all proposed motions in limine. In that meet and confer, the
           parties will determine:

                a. Whether the parlies can stipulate to any of the proposed motions. If the parties so
                   stipulate, they may file a stipulation and proposed order with the Court.

                b. Whether any of the proposed motions can be briefed and submitted by means of a
                   short joint statement of issues. For each motion which can be addressed by a short
                   Joint statement of issues, a short joint statement of issues must be filed with the Court
                   10 days prior to the final status conference. Each side’s portion of the short joint
                   statement of Issues may not exceed three pages. The parties will meet and confer to
                   agree on a dale and manner for exchanging the parties' respective portions of the
                   short joint statement of issues and the process for filing the short joint statement of
                   issues.

       3. All proposed motions in limine that are not either the subject of a stipulalion or briefed via
          a short joint statement of issues will be briefed and filed in accordance with the California
          Rules of Court and the Los Angeles Superior Court Rules.



       LACIV075(new)
       LASC AppcDVBd 04/11        STIPULATION AND ORDER - MOTIONS IN UMINE
       For Optioral Usa                                                                                    Page 1 of 2
Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 34 of 36 Page ID #:39




      tHOAIiniS:                                                     CASNueXA'.




      The following parties stipulate:
      Date:
                                                        >
                    (TYPE OR PRINT NAME)           .f            (ATTORNEY FOR PLAINTIFF)
      Dale:
                                                        >
                    (TYPE OR PRINT NAME)                        (ATTORNEY FOR DEFENDANT)
      Date;
                                                        %
                    (TYPE OR PRINT NAME)                        (ATTORNEY FOR DEFENDANT)
      Date:
                                                        >
                   I (TYPE OR PRINT NAME)                       (ATTORNEY FOR DEFENDANT)
      Date:
                                                        >
                    (TYPE OR PRINT NAME)                    (ATTORNEY FOR
      Dale:
                                                        >
                    (TYPE OR PRINT NAME)                    (ATTORNEY FOR
      Date:
                                                        >
                    (TYPE OR PRINT NAME)                    (ATTORNEY FOR



     THE COURT SO ORDERS.

       Date:
                                                                     JUDICIAL OFFICER




     LACtVOTSinew)
     LASC Appjuved 04/11      STIPULATION AND ORDER - MOTIONS IN LIMINE                 Pago 2 of 2
Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 35 of 36 Page ID #:40




                           Superior Court of California, County of Los Angeles




 iSigiSfSSISatMKSsa^-yfSiffi-^^iaSii'MSSjttlwaB
What is ADR?
ADR helps people hnd solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration and settlement conferences. When ADR is done by phone or computer, it may be called Online
Dispute Resolution (ODR). These "alternatives" to litigation and trial are described below.

Advantaees of ADR
      •    Saves Time: ADR is faster than going to trial.
      •    Saves Money: Parties can save on court costs, attorney's fees and witness fees.
      •    Keeps Control with the parties: Parties choose their ADR process and provider for voluntary ADR.
      •    Reduces stress/protects privacy: ADR is done outside the courtroom, in private offices, by phone or online.


Disadvantages of ADR
      •    Costs: If the parties do not resolve their dispute, they may have to pay for ADR and litigation and trial.
      •    No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR;

      1.   Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
           settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

      2. Mediation: In mediation, a neutral "mediator" listens to each person's concerns, helps them evaluate the
         strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
         acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                      Mediation may be appropriate when the parties
                         • want to work out a solution but need help from a neutral person.
                         • have communication problems or strong emotions that interfere with resolution.
                      Mediation may not be appropriate when the parties
                         • want a public trial and want a Judge or Jury to decide the outcome.
                         • lack equal bargaining power or have a history of physical/emotional abuse.

                                                                                                                        LASCl
LASCaV27l NEW 03/19
For Mandatory Use
California Rules of Court, rule 3.UI
  Case 2:19-cv-03860-JAK-JC Document 1-1 Filed 05/03/19 Page 36 of 36 Page ID #:41




       3.    Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and arguments to the
             person who decides the outcome. In "binding" artitration, the arbitrator's decision Is final; there is no right to
             trial. In "nonbinding" arbitration, any party can request a trial after the arbitrator's decision. For more
             information about arbitration, visit http;//www.courts.ca.gov/programs-adr.htm „                     _ .   -

       4.    Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close to the trial
             date. The parties and their attorneys meet with a Judge or settlement officer who does not make a decision but
             assists the parties in evaluating the strengths and weaknesses of the case and in negotiating a settlement.
             For information about the Court's MSC programs for civil cases, visit: www.lacourt.ore/division/civil/settlement




 Los Angeles Superior Court ADR website: www.lacourt.org/division/civil/settlement
 For general Information and videos about.AOR, visit http://www.courts.ca.gov/proerams-adr.htm




                                                                                                                            LASC2
  lASCOV 271 NEW 03/19
■ For Mandatory Use
  California Rules of Coun, rule 3.221
